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15
                              UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN JOSE DIVISION

18
      FEDERAL TRADE COMMISSION                   Case No. 5:17-CV-0220-LHK-NMC
19
                Plaintiff,
20         v.                                    STIPULATION CONCERNING
                                                 ADMITTED TRIAL EXHIBITS
21    QUALCOMM INCORPORATED,                     SUBMITTED TO THE CLERK’S
      a Delaware corporation,                    OFFICE
22
                Defendant.
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                                        STIPULATION CONCERNING ADMITTED TRIAL EXHIBITS
28                                                     SUBMITTED TO THE CLERK’S OFFICE
                                                            Case No. 5:17-cv-00220-LHK-NMC
            Case 5:17-cv-00220-LHK Document 1482 Filed 04/10/19 Page 2 of 5



                    Pursuant to the Court’s request, the Federal Trade Commission and Qualcomm
 1

 2   Incorporated (the “Parties”) respectfully submit this Stipulation Concerning Admitted Trial

 3   Exhibits Submitted to the Clerk’s Office:

 4                  WHEREAS, the Court has requested that the Parties submit to the Clerk’s
 5
     office a complete and accurate set of exhibits admitted at trial;
 6
                    WHEREAS, the Court also has requested that the Parties stipulate to the
 7
     completeness and accuracy of the exhibits that are submitted to the Clerk’s office;
 8
                    WHEREAS, the Parties exchanged electronic copies of all exhibits admitted at
 9

10   trial, including (1) a public set of the exhibits bearing redactions of information filed under

11   seal and (2) a sealed set of the exhibits showing (in highlights) what portions of the exhibits
12   were filed under seal;
13
                    WHEREAS, the Parties agreed that the electronic copies they exchanged are a
14
     complete and accurate set of the exhibits admitted at trial during this matter;
15
                    WHEREAS, pursuant to an agreement with the FTC, Qualcomm arranged for
16

17   the printing of the electronic copies and the delivery of printed copies to the Court;

18                  WHEREAS, based on a reasonable review of the printed copies, Qualcomm

19   represents that the printed copies match the agreed-to electronic copies;
20                  WHEREAS, no Party waives any properly preserved objections to the admitted
21
     exhibits;
22
                    NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
23
     and between the undersigned counsel:
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25                  The exhibits submitted to the Clerk’s office are a complete and accurate set of

26   exhibits admitted during the trial of this matter.

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                                                      1
                                               STIPULATION CONCERNING ADMITTED TRIAL EXHIBITS
28                                                            SUBMITTED TO THE CLERK’S OFFICE
                                                                   Case No. 5:17-cv-00220-LHK-NMC
           Case 5:17-cv-00220-LHK Document 1482 Filed 04/10/19 Page 3 of 5



     April 10, 2019                   Respectfully Submitted,
 1

 2
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28                                                       Case No. 5:17-cv-00220-LHK-NMC
     Case 5:17-cv-00220-LHK Document 1482 Filed 04/10/19 Page 4 of 5




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 2                               FEDERAL TRADE COMMISSION

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                               STIPULATION CONCERNING ADMITTED TRIAL EXHIBITS
                                              SUBMITTED TO THE CLERK’S OFFICE
28                                                 Case No. 5:17-cv-00220-LHK-NMC
             Case 5:17-cv-00220-LHK Document 1482 Filed 04/10/19 Page 5 of 5



                                        FILER’S ATTESTATION
 1

 2          I, Gary A. Bornstein, am the ECF user whose identification and password are being used

 3   to file this Stipulation. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that the

 4   signatories on this document have concurred in this filing.
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 6
                                                     s/ Gary A. Bornstein
 7                                                                  Gary A. Bornstein
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                                                STIPULATION CONCERNING ADMITTED TRIAL EXHIBITS
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